 8:09-cr-00251-JFB-FG3        Doc # 66    Filed: 11/24/09    Page 1 of 1 - Page ID # 140




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:09CR251
                     Plaintiff,                  )
                                                 )
       vs.                                       )              ORDER
                                                 )
TROY R. HOLLENBECK and                           )
JON G. WHITAKER, JR.,                            )
                                                 )
                     Defendants.                 )
       This matter is before the court on the motion to continue by defendant Troy R.
Hollenbeck (Hollenbeck) (Filing No. 65). Hollenbeck seeks a continuance of the trial of this
matter which is scheduled for December 9, 2009. Hollenbeck’s counsel has a conflict with
the trial date. Hollenbeck’s counsel represents that government’s counsel has no objection
to the motion. Upon consideration, the motion will be granted. Trial will be continued as
to both defendants.


       IT IS ORDERED:
       1.     Hollenbeck's motion to continue trial (Filing No. 65) is granted.
       2.     Trial of this matter is re-scheduled for January 4, 2010, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 24, 2009 and January 4, 2010, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 24th day of November, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
